    Case 1:17-cv-10107-WGY Document 77-8 Filed 01/05/18 Page 1 of 4
Michael Halpin
September 15, 2017
                                                                      1


                                                   Volume I
                                                   Pages 1-8 0
            IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MASSACHUSETTS


                                        No. 1:17-cv-10107-WG Y


 DAVID SETH WORMAN, et al.,
        Plaintiffs,
 vs.
 CHARLES D. BAKER, et al.,
        Defendants.




               DEPOSITION OF MICHAEL HALPIN
          Friday, September 15, 2017 at 9:40 a.m.
           Campbell, Campbell, Edwards & Conroy
                     One Constitution Center
                Boston, Massachusetts 02129




       ----------Jennifer A. Doherty, CSR------------- -
               Certified Shorthand Reporter


                       C. J. REPORTING
                        P.O. Box 1373
                      Andover, MA   01810
                         617.763.1725
                      www.cjreporting.com



                              C.J. Reporting
                               617.763.1725
    Case 1:17-cv-10107-WGY Document 77-8 Filed 01/05/18 Page 2 of 4
Michael Halpin
September 15, 2017
                                                                                   2 (Pages 2 to 5)
                                              2                                                         4
 1 APPEARANCES:                                   1                INDEX
 2                                                     Testimony of:   Direct
     BRADLEY ARANT BOULT CUMMINGS, LLP            2
 3   BY: John Parker Sweeney, Esq.
     1615 L Street, N.W., Suite 1350                   MICHAEL HALPIN
 4   Washington, D.C. 20036                       3      by Mr. Nardone      5
     202-719-8216                                 4
 5   jsweeney@bradley.com                         5
     For the Plaintiffs.                          6              EXHIBITS
 6
                                                       No.      Description        For I.D.
 7   BRADLEY ARANT BOULT CUMMINGS, LLP
     BY: Marc A. Nardone, Esq.                    7
 8   1615 L. Street, N.W., Suite 1350                  1 Subpoena                    5
     Washington, D.C. 20036                       8
 9   202-719-8256                                      2 Defendant Colonel Richard D. McKeon's
     mnardone@bradley.com                         9     Responses to Plaintiffs' First Set of
10   Co-counsel for the Plaintiffs.                     Interrogatories                  5
11
     OFFICE OF THE ATTORNEY GENERAL
                                                  10
12   ASSISTANT ATTORNEYS GENERAL                       3 Basic Firearms Instructor Course
     BY: William W. Porter, Esq.                  11    Patrol Rifle Document             26
13   One Ashburton Place                          12   4 2-page Document                  36
     Boston, Massachusetts 02108                  13   5 Multi-page Document               36
14   bill.porter@state.ma.us                      14   6 2016 Crime Gun Report               43
     For the Defendants.
15                                                15   7 Law Enforcement Guide to Firearms Law 49
16   OFFICE OF THE ATTORNEY GENERAL               16   8 Enforcement Notice/Prohibited Assault
     Gary Klein, Esq.                                   Weapons                       62
17   One Ashburton Place, 18th Floor              17
     Boston, Massachusetts 02108                  18
18   617-963-2567                                 19
     gary.klein@state.ma.us
19   Senior Trial Counsel                                    **EXHIBITS SENT TO ATTORNEY NARDONE**
20                                                20
21                                                21
22                                                22
23                                                23
24                                                24
                                              3                                                         5
 1 APPEARANCES:                                    1             PROCEEDINGS
 2                                                 2             (Exhibit Nos. 1 and 2 premarked for
 3 ALSO PRESENT:
                                                   3   identification.)
 4   CAMPBELL CAMPBELL EDWARDS & CONROY
     Christopher R. Howe, Esq.                     4             MICHAEL HALPIN, having been
 5   One Constitution Center                       5   satisfactorily identified by the Notary Public was
     Boston, Massachusetts 02129                   6   duly sworn and testified as follows:
 6   617-241-3029                                  7               DIRECT EXAMINATION
     chowe@campbell-traial-lawyers.com
 7
                                                   8   BY MR. NARDONE:
 8   Siobhan E. Kelly, Esq.                        9       Q. Could you tell us your full name for the
     470 Worcester Road                           10   record?
 9   Framingham, Massachusetts 01702              11       A. Sure. It's Michael Halpin, H-A-L-P-I-N.
     Staff Counsel-Department of State Police     12       Q. Have you ever been deposed before?
10
11                                                13       A. I have not.
12                                                14       Q. So I'm going to go over a few ground rules
13                                                15   up front. Please keep your voice up so the court
14                                                16   reporter can hear everything. Please wait until I
15
16
                                                  17   finish asking a question before you start to answer.
17                                                18   We can't talk over each because there's no way she's
18                                                19   able to get it down.
19                                                20             If you have any questions about any
20                                                21   of the questions that I ask you, let me know and
21
22                                                22   tell me you don't understand something and I'll try
23                                                23   to clarify it. If you're unfamiliar with any of the
24                                                24   terms or anything like that, just let me know and

                                         C.J. Reporting
                                          617.763.1725
      Case 1:17-cv-10107-WGY Document 77-8 Filed 01/05/18 Page 3 of 4
Michael Halpin
September 15, 2017
                                                                                       6 (Pages 18 to 21)
                                                    18                                                        20
 1       A. I would say they should be, and generally,     1   Enforcement.
 2   yes.                                                  2             And, again, after objections, the
 3       Q. As we sit here today, you're not aware of      3   Colonel's answer is that he's unaware of any person
 4   any incidents in which a banned firearm or magazine 4     within the Massachusetts State Police who was
 5   was used in a shooting that was determined to be in 5     responsible for that review. Is that accurate?
 6   self-defense?                                         6       A. Yes.
 7       A. I am not.                                      7       Q. You're not aware of anyone that --
 8       Q. If you can go on to Interrogatory No. 4,       8       A. I am not.
 9   it asked for investigations, arrests, or convictions  9       Q. Number 8 is a very similar question asking
10   of persons for a possession of a banned firearm or   10   for anyone that participated in the preparation of
11   magazine, and the Colonel's response is the incident 11   the Notice of Enforcement itself. Again, the
12   marked in Interrogatory No. 1 that we discussed. Do 12    Colonel was unaware.
13   you have any additional information that would be 13                Are you aware of anyone that
14   responsive to that interrogatory?                    14   participated in that?
15       A. No.                                           15       A. I am not.
16       Q. The next interrogatory asked for the          16       Q. Interrogatory No. 9 asks for the identity
17   identity of person or persons responsible for or     17   of persons responsible for reviewing, processing,
18   participated and determined whether a particular     18   approving, and maintaining records of Massachusetts
19   firearm is a copy or duplicate of an enumerated      19   firearms transfers, sales, and registrations.
20   banned firearm.                                      20             After objections, the Colonel states
21             After objections, the Colonel's            21   that the Massachusetts State Police do not have
22   response is he's unaware of any persons employed 22       responsibility for any of that and that is done by
23   with the Massachusetts State Police who were         23   the Secretary of Public Safety.
24   responsible for development of the Attorney          24             Does Massachusetts State Police
                                                    19                                                        21
 1   General's Enforcement Notice. Is that accurate?       1   retain any records whatsoever related to the
 2      A. Yes, I believe it is.                           2   transfer of firearms?
 3      Q. As we sit here today, are you aware of          3       A. Again, I think the only possible response
 4   anyone that was involved?                             4   or responsive material we would have would be to
 5      A. No, I am not.                                   5   specific cases; meaning, if they were gathered as
 6      Q. The next interrogatory asks for any person      6   part of an investigation, then the department may
 7   or persons responsible for participating in the       7   have that in an investigative file, but we don't
 8   preparing of a list of guns that are not assault      8   aggregate or track the information.
 9   weapons and related questions and answers published 9         Q. Just make sure I understand. You don't
10   by the Attorney General.                             10   keep a database of transfers, but if you were
11             Are you familiar with the list of          11   investigating a crime where a transfer were
12   guns that are not assault weapons and the related    12   relevant, you would pull the records for that from
13   questions and answers that are currently on the      13   whoever does keep records of transfers.
14   Attorney General's website?                          14       A. Yes, possibly. I assume if that were
15      A. Yes, I am familiar with it.                    15   relevant to an investigation, the officer would want
16      Q. The Colonel's response is that he's not        16   to review that information.
17   aware of anyone that was responsible or participated 17       Q. So you have access to the records but you
18   in a substantial way with the creation of that list  18   don't keep them?
19   and the answers to the questions. Is that accurate   19       A. Correct.
20   as we sit here today?                                20       Q. The next interrogatory asked for the
21      A. Yes.                                           21   number of -- and this is a term that we will talk
22      Q. The next interrogatory asks for the person     22   about shortly -- Massachusetts-compliant firearms
23   or persons responsible for the 2016 review that led 23    that were transferred after the enactment of
24   the Attorney General to issue the Notice of          24   challenge laws but prior to the Notice of

                                             C.J. Reporting
                                              617.763.1725
      Case 1:17-cv-10107-WGY Document 77-8 Filed 01/05/18 Page 4 of 4
Michael Halpin
September 15, 2017
                                                                                         7 (Pages 22 to 25)
                                                    22                                                           24
 1   Enforcement.                                          1     limited to the Notice of Enforcement.
 2             Before you answer, I'm going to             2               And the Colonel's response here is
 3   explain to you what Massachusetts compliant firearms 3      that no particular person at the Massachusetts State
 4   means in this interrogatory, and what it refers to    4     Police is responsible for responding to such
 5   are firearms that were designated to be               5     questions, but a number of Massachusetts State
 6   Massachusetts compliant by manufacturers and were 6         Police personnel could receive random inquiries to
 7   sold in Massachusetts under that designation?         7     which they would respond. So I have a number of
 8             MR. PORTER: I just object to the            8     questions about that.
 9   form of this question and any question that uses the  9               Number one, are individual
10   term "Massachusetts-compliant firearms." As we've 10        Massachusetts State Police Troopers or Officers
11   asserted throughout, we think it's a term that       11     permitted to answer questions about the scope of
12   really isn't possible to use and its meaning is      12     this law?
13   unknowable and inherently contradictory. So that's 13           A. We generally discourage our officers from
14   the objection.                                       14     giving out legal advice to people; that being said,
15       Q. You can answer.                               15     you know, we have 2,300-plus members, and when
16       A. I'm going to ask you to ask me the            16     citizens come in and ask questions, I think they do
17   question again.                                      17     try to be as helpful as they can.
18       Q. Sure. First, using what I described as a      18               If a matter is very clear and can be
19   Massachusetts-compliant firearm, do you understand 19       explained to somebody, I think they will sometimes
20   what I was staying when I referred to that?          20     offer a piece of advice. Sometimes they will direct
21       A. I understand, yes. As you defined it,         21     them to other people within the agencies. We
22   yes, I understood that.                              22     sometimes get people referred from a barracks to the
23       Q. This interrogatory asks to state how many     23     legal section and we generally tell people, We're
24   of those firearms were transferred after the         24     not your lawyers, we can't give you legal advice.
                                                    23                                                           25
 1   enactment of the challenged laws. And after             1   That's all meant to prevent, you know, somebody
 2   objections, the Colonel's response is that the State    2   violating the law and using the department as the
 3   Police do not maintain information sufficient to        3   justification for why they did what they did.
 4   answer that interrogatory. Is that accurate?            4              So we generally discourage it, both
 5       A. That is correct.                                 5   our civilians and our uniform members from giving
 6       Q. Interrogatory No. 11 asks for reviews of         6   what we could consider legal advice.
 7   firearms transfers and sales conducted between 1998     7       Q. Are you aware of any inquiries that have
 8   and 2016, any violation of law discovered through       8   come in to anyone within the Massachusetts State
 9   such review, and any agency to which it reported the    9   Police about the scope of the challenged laws or the
10   violation was submitted.                               10   Notice of Enforcement?
11             After objections and privilege               11       A. I am not.
12   limitations, the Colonel has identified Lieutenant     12       Q. Hopefully that will streamline the rest of
13   Zani as an individual who participated in reviews of   13   what we're going to go through here today since we
14   firearm sales.                                         14   did that up front.
15             Are there any other individuals that         15              What I want to talk to you about
16   you are aware of who participated in such reviews?     16   right now are some of the attributes of the banned
17       A. I am not, no.                                   17   firearms and banned magazines. And just so we're
18       Q. We'll discuss the substance of those            18   clear, when I refer to banned firearms, I'm talking
19   reviews with Mr. Zani. I don't want to duplicate       19   about firearms that are banned under Massachusetts
20   the effort here.                                       20   law as either assault weapons, copies or duplicates
21             The next interrogatory asks for              21   or that failed the features test that's incorporated
22   persons responsible for or participated in             22   in federal law. Does that make sense to you?
23   responding to questions from the public regarding      23       A. Yes.
24   the scope of the challenged laws including but not     24       Q. Does the Massachusetts State Police have a

                                              C.J. Reporting
                                               617.763.1725
